               Case 20-71890-lrc               Doc 1        Filed 11/19/20 Entered 11/19/20 13:32:19                         Desc Main
                                                            Document      Page 1 of 76
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Jamarr
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or         __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Tobias
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           6    9    2    3
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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               Jamarr Tobias
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           3106 Spicy Cedar Ln                                               _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Lithonia                                GA
                                           _________________________________________________
                                                                                             30038           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           DeKalb County                                                     _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                             
                                             ✔
                                               Chapter 7
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you              
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                 Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                   duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                      No. Go to line 16b.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                      Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                    1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                   
                                              ✔ 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                               
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                  
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Jamarr Tobias
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    11/19/2020
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ John Brookhuis                                                Date           11/19/2020
                                                                                                                               _________________
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  John Brookhuis
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Brookhuis Law LLC
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 PO Box 17919
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                 Atlanta                                                         GA            30316
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 6783908070
                                                              ______________________________         Email address
                                                                                                                     john@brookhuislaw.com
                                                                                                                      _________________________________________



                                                 940484                                                          GA
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Jamarr Tobias
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                            Check if this is an
                     (If known)                                                                                                                                               amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................        $ 202,700.00
                                                                                                                                                                             ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................             $ 63,402.62
                                                                                                                                                                             ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                           $ 266,102.62
                                                                                                                                                                             ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                       Your liabilities
                                                                                                                                                                       Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                        $ 284,705.00
                                                                                                                                                                             ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                           $ 15,113.00
                                                                                                                                                                             ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                       +   $ 53,158.60
                                                                                                                                                                             ________________


                                                                                                                                     Your total liabilities                $ 352,976.60
                                                                                                                                                                             ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                  $ 6,570.83
                                                                                                                                                                             ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................              $ 6,544.09
                                                                                                                                                                             ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        1,678.69
                                                                                                                                        $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                     15,113.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               15,113.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                   Case 20-71890-lrc                          Doc 1              Filed 11/19/20 Entered 11/19/20 13:32:19                                                                 Desc Main
                                                                                 Document     Page 10 of 76

Fill in this information to identify your case and this filing:

                    Jamarr Tobias
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                 Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of
Georgia
                                                                                                                                                                                                        Check if this is an
Case number                                                                                                                                                                                             amended filing
(if know)



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                              12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?


                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
    1.1 3106 Spicy Cedar Ln                                                        Single-family home
            Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
                                                                                      Condominium or cooperative
                                                                                                                                                                Current value of the                Current value of the
                                                                                      Manufactured or mobile home                                               entire property?                    portion you own?
            Lithonia GA          30038
                                                                                      Land                                                                      $ 202,700.00                        $ 202,700.00
            City      State      ZIP Code
                                                                                      Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                      Timeshare                                                                 interest (such as fee simple, tenancy by the
            DeKalb County                                                             Other                                                                     entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check one                                 Fee simple
                                                                                   Debtor 1 only
                                                                                      Debtor 2 only                                                                  Check if this is community property
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
    1.2 Massanutten Timeshare                                                      Single-family home
            Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
            8545 Commodity Circle
                                                                                      Condominium or cooperative
                                                                                                                                                                Current value of the                Current value of the
                                                                                      Manufactured or mobile home                                               entire property?                    portion you own?
            Orlando FL           32819
                                                                                      Land                                                                      $ 0.00                              $ 0.00
            City      State      ZIP Code
                                                                                      Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                      Timeshare                                                                 interest (such as fee simple, tenancy by the
                                                                                      Other                                                                     entireties, or a life estate), if known.
                                                                                 Who has an interest in the property? Check one                                 Timeshare
                                                                                   Debtor 1 only
                                                                                      Debtor 2 only                                                                  Check if this is community property
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤         $ 202,700.00


                                                                                                                                                                                                                page 1 of 6
              Case 20-71890-lrc                 Doc 1    Filed 11/19/20 Entered 11/19/20 13:32:19 Desc Main
Debtor 1         Jamarr Tobias
               First Name    Middle Name   Last Name
                                                         Document     Page 11 of 76      Case number(if known)



 Part 2:      Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
           No
           Yes
    3.1 Make:Lexus                                        Who has an interest in the property? Check one
                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:ES350                                      Debtor 1 only                                       the amount of any secured claims onSchedule D:
                                                             Debtor 2 only                                      Creditors Who Have Claims Secured by Property:
           Year:                    2009
                                                             Debtor 1 and Debtor 2 only                              Current value of the   Current value of the
           Approximate mileage: 70000
                                                             At least one of the debtors and another                 entire property?       portion you own?
              Other information:
             Condition:Good; Daughter                         Check if this is community property (see               $ 6,600.00             $ 6,600.00
             Drives;                                      instructions)


    3.2 Make:Cadillac                                     Who has an interest in the property? Check one
                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:XTS                                        Debtor 1 only                                       the amount of any secured claims onSchedule D:
                                                             Debtor 2 only                                      Creditors Who Have Claims Secured by Property:
           Year:                    2013
                                                             Debtor 1 and Debtor 2 only                              Current value of the   Current value of the
           Approximate mileage: 58000
                                                             At least one of the debtors and another                 entire property?       portion you own?
              Other information:
             Condition:Good;                                  Check if this is community property (see               $ 12,475.00            $ 12,475.00
                                                          instructions)


    3.3 Make:Lexus                                        Who has an interest in the property? Check one
                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:RC350                                      Debtor 1 only                                       the amount of any secured claims onSchedule D:
                                                             Debtor 2 only                                      Creditors Who Have Claims Secured by Property:
           Year:                    2015
                                                             Debtor 1 and Debtor 2 only                              Current value of the   Current value of the
           Approximate mileage: 25000
                                                             At least one of the debtors and another                 entire property?       portion you own?
              Other information:
             Condition:Good;                                  Check if this is community property (see               $ 28,550.00            $ 28,550.00
                                                          instructions)


    3.4 Make:Hyundai                                      Who has an interest in the property? Check one
                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:Veloster                                   Debtor 1 only                                       the amount of any secured claims onSchedule D:
                                                             Debtor 2 only                                      Creditors Who Have Claims Secured by Property:
           Year:                    2015
                                                             Debtor 1 and Debtor 2 only                              Current value of the   Current value of the
           Approximate mileage: 88000
                                                             At least one of the debtors and another                 entire property?       portion you own?
              Other information:
             Condition:Good;                                  Check if this is community property (see               $ 6,600.00             $ 6,600.00
                                                          instructions)


    3.5 Make:Chrysler                                     Who has an interest in the property? Check one
                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:200                                        Debtor 1 only                                       the amount of any secured claims onSchedule D:
                                                             Debtor 2 only                                      Creditors Who Have Claims Secured by Property:
           Year:                    2011
                                                             Debtor 1 and Debtor 2 only                              Current value of the   Current value of the
           Approximate mileage: 115,000
                                                             At least one of the debtors and another                 entire property?       portion you own?
              Other information:
             Condition:Good;                                  Check if this is community property (see               $ 2,875.00             $ 2,875.00
                                                          instructions)


  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

    4.1 Make:Yamaha                                       Who has an interest in the property? Check one
                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:R-1                                        Debtor 1 only                                       the amount of any secured claims onSchedule D:
                                                             Debtor 2 only                                      Creditors Who Have Claims Secured by Property:
           Year:                    2005
            Other information:                               Debtor 1 and Debtor 2 only                         Current value of the        Current value of the
           Condition:Good;                                   At least one of the debtors and another            entire property?            portion you own?

                                                              Check if this is community property (see          $ 3,000.00                  $ 300.00
                                                          instructions)


                                                                                                                                                         page 2 of 6
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Debtor 1           Jamarr Tobias
                 First Name          Middle Name          Last Name
                                                                                  Document     Page 12 of 76      Case number(if known)



      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 57,400.00



 Part 3:         Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
  6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                     claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Household Goods and Furniture                                                                                                                                                                 $ 3,500.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          Electronics                                                                                                                                                                                   $ 1,500.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

          Clothes and Shoes                                                                                                                                                                             $ 500.00
  12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                   gold, silver

              No
              Yes. Describe...

          Jewelry                                                                                                                                                                                       $ 500.00
  13. Non-farm animals
         Examples: Dogs, cats, birds, horses

              No
              Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
              No
              Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
       you have attached for Part 3. Write that number here...........................................................................................................................................➤               $ 6,000.00



                                                                                                                                                                                                                      page 3 of 6
             Case 20-71890-lrc                                   Doc 1               Filed 11/19/20 Entered 11/19/20 13:32:19 Desc Main
Debtor 1        Jamarr Tobias
              First Name            Middle Name           Last Name
                                                                                     Document     Page 13 of 76      Case number(if known)



 Part 4:      Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.
  16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           No
           Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
           Yes..................                                   Institution name:
       17.1. Checking account:                                    Wells Fargo                                                                                                                      $ 0.00

       17.2. Checking account:                                    Navy Federal Credit Union                                                                                                        $ 2.62

       17.3. Savings account:                                     Navy Federal Credit Union                                                                                                        $ 0.00

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                  companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit
           No
         Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...



                                                                                                                                                                                                               page 4 of 6
               Case 20-71890-lrc                               Doc 1             Filed 11/19/20 Entered 11/19/20 13:32:19 Desc Main
Debtor 1          Jamarr Tobias
                First Name          Middle Name          Last Name
                                                                                 Document     Page 14 of 76      Case number(if known)



  27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                                                    Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                              Federal:                             $ 0.00
                                                                                                                                                              State:                               $ 0.00
                                                                                                                                                              Local:                               $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
        claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤            $ 2.62


 Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:          If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:        Describe All Property You Own or Have an Interest in That You Did Not List Above

                                                                                                                                                                                                                page 5 of 6
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Debtor 1            Jamarr Tobias
                  First Name            Middle Name           Last Name
                                                                                        Document     Page 15 of 76      Case number(if known)



  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                      ................................................➤
                                                                                                                                                                                                                 $ 0.00

 Part 8:          List the Totals of Each Part of this Form
  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                             $ 202,700.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 57,400.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 6,000.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 2.62
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $      0.00

  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 63,402.62                          Copy personal property total➤   +$
                                                                                                                                                                                                          63,402.62

  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                   $ 266,102.62




                                                                                                                                                                                                                page 6 of 6
               Case 20-71890-lrc               Doc 1        Filed 11/19/20 Entered 11/19/20 13:32:19                                       Desc Main
                                                            Document     Page 16 of 76
 Fill in this information to identify your case:

                     Jamarr Tobias
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                    (State)
 Case number
  (If known)
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                         4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                           exemption you claim

                                                           Copy the value from                       Check only one box
                                                           Schedule A/B                              for each exemption
                 3106 Spicy Cedar Ln                                                                                                11 USC § 522(d)(1)
 Brief
 description:
                                                                    202,700.00
                                                                   $________________             13,700.00
                                                                                              ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.1
                 Household goods - Household Goods and Furniture                                                                    11 USC § 522(d)(3)
 Brief
 description:
                                                                     3,500.00
                                                                   $________________           $ ____________
                                                                                               ✔  3,500.00
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:          6
                 Electronics - Electronics                                                                                          11 USC § 522(d)(3)
 Brief
 description:
                                                                     1,500.00
                                                                   $________________             1,500.00
                                                                                              ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                            2
                                                                                                                                                         page 1 of __
               Case 20-71890-lrc Doc 1 Filed 11/19/20 Entered 11/19/20 13:32:19 Desc Main
Debtor           Jamarr Tobias                       Document
                _______________________________________________________
                                                                        Page 17 of Case
                                                                                    76 number (if known)_____________________________________
                 First Name     Middle Name            Last Name




 Pa rt 2 :      Addit iona l Pa ge

            description of the property and line
         Brief                                                                               Amount of the                       Specific laws that allow exemption
                                                                      Current value of the   exemption you claim
         on Schedule A/B that lists this property                     portion you own
                                                                     Copy the value from    Check only one box
                                                                      Schedule A/B           for each exemption
                Clothing - Clothes and Shoes                                                                                      11 USC § 522(d)(3)
Brief
description:
                                                                        500.00
                                                                       $________________        500.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          11
                Jewelry - Jewelry                                                                                                 11 USC § 522(d)(4)
Brief
description:                                                           $________________
                                                                        500.00               
                                                                                             ✔ $ ____________
                                                                                                 500.00
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:         12
                Navy Federal Credit Union (Checking)                                                                              11 U.S.C. § 522 (d)(5)
Brief
description:                                                           $________________
                                                                        2.62                 
                                                                                             ✔ $ ____________
                                                                                                 2.62
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:            17.2

Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________      $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                  2   2
                                                                                                                                                   page ___ of __
                  Case 20-71890-lrc                         Doc 1       Filed 11/19/20 Entered 11/19/20 13:32:19                                               Desc Main
                                                                        Document     Page 18 of 76
  Fill in this information to identify your case:

                     Jamarr Tobias
  Debtor 1
                     First Name            Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name          Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (if know)                                                                                                                                                                    Check if this is an
                                                                                                                                                                               amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                        12/15


  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
  more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
  name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.



  Part 1:         List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If      Column A               Column B               Column C
     more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, list the claims in   Amount of claim        Value of collateral    Unsecured
     alphabetical order according to the creditor’s name.                                                                         Do not deduct the      that supports this     portion If any
                                                                                                                                  value of collateral.   claim
 2.1                                                                            Describe the property that secures the claim: $ 45,000.00                $ 28,550.00            $ 16,450.00


          Bridgecrest/Carvana
                                                                              2015 Lexus RC350 - $28,550.00
          Creditor’s Name
          PO BOX 842695
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Los Angeles CA           90084                                     apply.
          City           State     ZIP Code                                     Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                 At least one of the debtors and another                        An agreement you made (such as mortgage or
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred
                                                                             Last 4 digits of account number

 2.2                                                                            Describe the property that secures the claim: $ 21,400.00                $ 12,475.00            $ 8,925.00


          Capital One Auto Finance
                                                                              2013 Cadillac XTS - $12,475.00
          Creditor’s Name
          PO Box 259407
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Plano     TX       75025                                           apply.
          City      State    ZIP Code                                           Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                                                                                An agreement you made (such as mortgage or
                 At least one of the debtors and another
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred
                                                                             Last 4 digits of account number



Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                                            page 1 of 3
                 Jamarr Tobias
Debtor           Case 20-71890-lrc
                First Name        Middle Name           Doc 1
                                                Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                 Case number(if known)

                                                                 Document     Page 19 of 76
 2.3                                                                  Describe the property that secures the claim: $ 12,677.00    $ 6,600.00     $ 6,077.00


         Capital One Auto Finance
                                                                    2009 Lexus ES350 - $6,600.00
         Creditor’s Name
         PO Box 259407
         Number          Street
                                                                   As of the date you file, the claim is: Check all that
         Plano      TX        75025                                apply.
         City       State     ZIP Code                                Contingent
         Who owes the debt? Check one.                                Unliquidated
           Debtor 1 only                                              Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                         Nature of lien. Check all that apply.
                At least one of the debtors and another               An agreement you made (such as mortgage or
                                                                      secured car loan)
                Check if this claim relates to a community            Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                  Judgment lien from a lawsuit
                                                                      Other (including a right to offset)
         Date debt was incurred
                                                                   Last 4 digits of account number

 2.4                                                                  Describe the property that secures the claim: $ 10,055.00    $ 6,600.00     $ 3,455.00


         Capital One Auto Finance
                                                                    2015 Hyundai Veloster - $6,600.00
         Creditor’s Name
         PO Box 259407
         Number          Street
                                                                   As of the date you file, the claim is: Check all that
         Plano      TX        75025                                apply.
         City       State     ZIP Code                                Contingent
         Who owes the debt? Check one.                                Unliquidated
           Debtor 1 only                                              Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                         Nature of lien. Check all that apply.
                At least one of the debtors and another               An agreement you made (such as mortgage or
                                                                      secured car loan)
                Check if this claim relates to a community            Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                  Judgment lien from a lawsuit
                                                                      Other (including a right to offset)
         Date debt was incurred
                                                                   Last 4 digits of account number

 2.5                                                                  Describe the property that secures the claim: $ 189,000.00   $ 202,700.00   $ 0.00


         Lakeview Loan Servicing
                                                                    3106 Spicy Cedar Ln, Lithonia, GA 30038 - $202,700.00
         Creditor’s Name
         4425 Ponce de Leon Blvd
         Number          Street
                                                                   As of the date you file, the claim is: Check all that
         MS 5-251                                                  apply.
                                                                      Contingent
         Miami      FL        33146
                                                                      Unliquidated
         City       State     ZIP Code
                                                                      Disputed
         Who owes the debt? Check one.
           Debtor 1 only                                           Nature of lien. Check all that apply.
                Debtor 2 only                                         An agreement you made (such as mortgage or
                                                                      secured car loan)
                Debtor 1 and Debtor 2 only
                                                                      Statutory lien (such as tax lien, mechanic’s lien)
                At least one of the debtors and another
                                                                      Judgment lien from a lawsuit
                Check if this claim relates to a community            Other (including a right to offset)
                debt
                                                                   Last 4 digits of account number
         Date debt was incurred




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
                 Jamarr Tobias
Debtor           Case 20-71890-lrc
                First Name           Middle Name           Doc 1
                                                   Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                    Case number(if known)

                                                                    Document     Page 20 of 76
 2.6                                                                     Describe the property that secures the claim: $ 0.00                  $ 0.00                $ 0.00


         Massanutten Timeshare
                                                                       Massanutten Timeshare 8545 Commodity Circle, Orlando, FL 32819 -
                                                                       $0.00
         Creditor’s Name
         8545 Commodity Circle
         Number         Street
                                                                      As of the date you file, the claim is: Check all that
         Orlando FL              32819                                apply.
         City        State       ZIP Code                                Contingent
         Who owes the debt? Check one.                                   Unliquidated
           Debtor 1 only                                                 Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
                At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                         secured car loan)
                Check if this claim relates to a community               Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                     Judgment lien from a lawsuit
                                                                         Other (including a right to offset)
         Date debt was incurred
                                                                      Last 4 digits of account number

 2.7                                                                     Describe the property that secures the claim: $ 3,413.00              $ 3,000.00            $ 413.00


         Onemain
                                                                       2005 Yamaha R-1 - $3,000.00
         Creditor’s Name
         PO Box 1010
         Number         Street
                                                                      As of the date you file, the claim is: Check all that
         Evansville IN            47706                               apply.
         City           State     ZIP Code                               Contingent
         Who owes the debt? Check one.                                   Unliquidated
           Debtor 1 only                                                 Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
                At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                         secured car loan)
                Check if this claim relates to a community               Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                     Judgment lien from a lawsuit
                                                                         Other (including a right to offset)
         Date debt was incurred
                                                                      Last 4 digits of account number

 2.8                                                                     Describe the property that secures the claim: $ 3,160.00              $ 2,875.00            $ 285.00


         Prestige Financial Services
                                                                       2011 Chrysler 200 - $2,875.00
         Creditor’s Name
         1420 South 500 West
         Number         Street
                                                                      As of the date you file, the claim is: Check all that
         Salt Lake City UT             84115                          apply.
         City                State     ZIP Code                          Contingent
         Who owes the debt? Check one.                                   Unliquidated
           Debtor 1 only                                                 Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
                At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                         secured car loan)
                Check if this claim relates to a community               Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                     Judgment lien from a lawsuit
                                                                         Other (including a right to offset)
         Date debt was incurred
                                                                      Last 4 digits of account number

                  Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                        $ 284,705.00



  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
   you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
   you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                      page 3 of 3
                   Case 20-71890-lrc                           Doc 1     Filed 11/19/20 Entered 11/19/20 13:32:19                                                 Desc Main
                                                                         Document     Page 21 of 76
   Fill in this information to identify your case:

                       Jamarr Tobias
   Debtor 1
                       First Name              Middle Name        Last Name

   Debtor 2
   (Spouse, if filing) First Name                Middle Name        Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   (if know)                                                                                                                                                                     Check if this is an
                                                                                                                                                                                 amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
 contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts
 and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
 Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
 additional pages, write your name and case number (if known).

   Part 1:         List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type
      of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical
      order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list
      the other creditors in Part 3. (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                               Total claim        Priority            Nonpriority
                                                                                                                                                                  amount              amount

  2.1                                                                         Last 4 digits of account number                                  $ 0.00             $ Unknown          $ 0.00
          Felicia Hill-Henry
                                                                              When was the debt incurred?
          Priority Creditor's Name
          1216 Turtle Dove Drive                                              As of the date you file, the claim is: Check all
          Number        Street                                                that apply.
          Effingham SC              29541                                        Contingent
          City          State       ZIP Code                                     Unliquidated
          Who owes the debt? Check one.                                          Disputed
            Debtor 1 only
                                                                              Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                                 Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                                 Taxes and certain other debts you owe the
                 At least one of the debtors and another                         government
              Check if this claim relates to a community                         Claims for death or personal injury while you were
              debt                                                               intoxicated
          Is the claim subject to offset?                                        Other. Specify
              No
                 Yes
  2.2                                                                         Last 4 digits of account number                                  $ 0.00             $ Unknown          $ 0.00
          Georgia Department of Revenue
                                                                              When was the debt incurred?
          Priority Creditor's Name
          Compliance Division, ARCS Bankruptcy                                As of the date you file, the claim is: Check all
          Number        Street                                                that apply.
          1800 Century Blvd NE, Suite 9100                                       Contingent
                                                                                 Unliquidated
          Atlanta GA            30345                                            Disputed
          City      State       ZIP Code
                                                                              Type of PRIORITY unsecured claim:
          Who owes the debt? Check one.
                                                                                 Domestic support obligations
            Debtor 1 only
                                                                                 Taxes and certain other debts you owe the
                 Debtor 2 only                                                   government
                 Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
                 At least one of the debtors and another                         intoxicated
                                                                                 Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 page 1 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name         Middle Name           Doc 1
                                                   Last Name             Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                         Case number(if known)

                                                                         Document     Page 22 of 76
   Part 1:         Your PRIORITY Unsecured Claims ─ Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                         Total claim        Priority            Nonpriority
                                                                                                                                                                    amount              amount
  2.3                                                                      Last 4 digits of account number                                       $ 13,133.00        $ Unknown          $ 13,133.00
          Internal Revenue Service
                                                                           When was the debt incurred?
          Priority Creditor's Name
          PO Box 7346                                                      As of the date you file, the claim is: Check all
          Number         Street                                            that apply.
          Philadelphia PA           19101                                     Contingent
          City             State    ZIP Code                                   Unliquidated
          Who owes the debt? Check one.                                        Disputed
            Debtor 1 only
                                                                           Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                              Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                               Taxes and certain other debts you owe the
                 At least one of the debtors and another                       government
              Check if this claim relates to a community                       Claims for death or personal injury while you were
              debt                                                             intoxicated
          Is the claim subject to offset?                                      Other. Specify
              No
                 Yes
  2.4                                                                      Last 4 digits of account number                                       $ 0.00             $ Unknown          $ 0.00
          NC Child Support Services
                                                                           When was the debt incurred?
          Priority Creditor's Name
          PO Box 20800                                                     As of the date you file, the claim is: Check all
          Number         Street                                            that apply.
          Raleigh NC             27619                                        Contingent
          City         State     ZIP Code                                      Unliquidated
          Who owes the debt? Check one.                                        Disputed
            Debtor 1 only
                                                                           Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                              Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                               Taxes and certain other debts you owe the
                 At least one of the debtors and another                       government
              Check if this claim relates to a community                       Claims for death or personal injury while you were
              debt                                                             intoxicated
          Is the claim subject to offset?                                      Other. Specify
              No
                 Yes
  2.5                                                                      Last 4 digits of account number                                       $ 1,980.00         $ Unknown          $ 1,980.00
          Virginia Tax
                                                                           When was the debt incurred?
          Priority Creditor's Name
          Office of Customer Services                                      As of the date you file, the claim is: Check all
          Number         Street                                            that apply.
          PO Box 1115                                                         Contingent
                                                                               Unliquidated
          Richmond VA              23218                                       Disputed
          City           State     ZIP Code
                                                                           Type of PRIORITY unsecured claim:
          Who owes the debt? Check one.
                                                                              Domestic support obligations
            Debtor 1 only
                                                                               Taxes and certain other debts you owe the
                 Debtor 2 only                                                 government
                 Debtor 1 and Debtor 2 only                                    Claims for death or personal injury while you were
                 At least one of the debtors and another                       intoxicated
                                                                               Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes
   Part 2:         List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
      creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
      list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                        Total claim



Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                    page 2 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name        Middle Name           Doc 1
                                                  Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                   Case number(if known)

                                                                   Document     Page 23 of 76

  4.1                                                                Last 4 digits of account number
          Advance Financial                                                                                                            $ 3,314.21
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          100 Oceanside Drive                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Nashville TN            37204                                 Unliquidated
          City         State      ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes
  4.2                                                                Last 4 digits of account number
          Allstate Insurance Company                                                                                                    $ 625.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 660598                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Dallas TX             75266                                   Unliquidated
          City       State      ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes

  4.3                                                                Last 4 digits of account number
          American Home Shield                                                                                                          $ 230.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          106 Old Mill Rd                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Lagrange GA             30240                                 Unliquidated
          City          State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name         Middle Name           Doc 1
                                                   Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                    Case number(if known)

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  4.4                                                                 Last 4 digits of account number
          Avant                                                                                                                           $ 6.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          222 N LaSalle St                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Suite 1700                                                     Unliquidated
                                                                         Disputed
          Chicago IL              60601
          City         State      ZIP Code                            Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
            Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 Debtor 2 only                                           Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                              debts
                 At least one of the debtors and another                 Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.5                                                                 Last 4 digits of account number
          Bank of America                                                                                                               $ 971.33
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 982238                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          El Paso TX           79998                                     Unliquidated
          City         State   ZIP Code                                  Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                              that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.6                                                                 Last 4 digits of account number
          Beacon Management Services                                                                                                    $ 990.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          6285 Barfield Rd                                            As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Suite 150                                                      Unliquidated
                                                                         Disputed
          Atlanta GA           30328
          City       State     ZIP Code                               Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
            Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 Debtor 2 only                                           Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                              debts
                 At least one of the debtors and another                 Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                    page 4 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name           Middle Name           Doc 1
                                                     Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                      Case number(if known)

                                                                      Document     Page 25 of 76
  4.7                                                                   Last 4 digits of account number
          BMG Money Inc                                                                                                                   $ 2,646.07
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          444 Brickell Ave                                              As of the date you file, the claim is: Check all that apply.
          Number          Street                                           Contingent
          Suite 250                                                        Unliquidated
                                                                           Disputed
          Miami      FL         33131
          City       State      ZIP Code                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                   Student loans
            Debtor 1 only                                                  Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                debts
                 At least one of the debtors and another                   Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes
  4.8                                                                   Last 4 digits of account number
          Capital One Bank USA NA                                                                                                          $ 929.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 30281                                                  As of the date you file, the claim is: Check all that apply.
          Number          Street                                           Contingent
          Salt Lake City UT             84130                              Unliquidated
          City                 State    ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.9                                                                   Last 4 digits of account number
          Capital One Bank USA NA                                                                                                         $ 1,491.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 30281                                                  As of the date you file, the claim is: Check all that apply.
          Number          Street                                           Contingent
          Salt Lake City UT             84130                              Unliquidated
          City                 State    ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                     page 5 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name           Middle Name           Doc 1
                                                     Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
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  4.10                                                                  Last 4 digits of account number
          Capital One/Walmart                                                                                                             $ 372.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 30281                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Salt Lake City UT             84130                              Unliquidated
          City                 State    ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.11                                                                  Last 4 digits of account number
          CB Indigo                                                                                                                         $ 29.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 4499                                                   As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Beaverton OR             97076                                   Unliquidated
          City           State     ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.12                                                                  Last 4 digits of account number
          Comenity Bank                                                                                                                   $ 430.02
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 182789                                                 As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Columbus OH              43218                                   Unliquidated
          City           State     ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                    page 6 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name       Middle Name           Doc 1
                                                 Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                  Case number(if known)

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  4.13                                                              Last 4 digits of account number
          Conn Credit Corp                                                                                                            $ 1,704.00
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          3295 COLLEGE STREET                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Beaumont TX             77701                                Unliquidated
          City           State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                 Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes

  4.14                                                              Last 4 digits of account number
          Credit One Bank                                                                                                              $ 528.00
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 98873                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Las Vegas NV            89193                                Unliquidated
          City           State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                 Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.15                                                              Last 4 digits of account number
          Credit One Bank                                                                                                              $ 938.00
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 98872                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Las Vegas NV            89193                                Unliquidated
          City           State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                 Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                     page 7 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name       Middle Name           Doc 1
                                                 Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                  Case number(if known)

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  4.16                                                              Last 4 digits of account number
          Dr. Felton DDS                                                                                                                 $ 75.00
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          10611 Greenyard Rd.                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Suite A                                                      Unliquidated
                                                                       Disputed
          Chester VA           23831
          City         State   ZIP Code                             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                               Student loans
            Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                 Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                            debts
                 At least one of the debtors and another               Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.17                                                              Last 4 digits of account number
          Fingerhut/Webbank                                                                                                           $ 3,482.00
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          6250 Ridgewood Rd.                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Saint Cloud MN          56303                                Unliquidated
          City            State   ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                 Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                       that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.18                                                              Last 4 digits of account number
          First Premier Bank                                                                                                          $ 1,007.00
                                                                    When was the debt incurred?
          Nonpriority Creditor's Name
          3820 N Louise Ave                                         As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Sioux Falls SD          57107                                Unliquidated
          City            State   ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                 Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                            that you did not report as priority claims
                 At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                     page 8 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name           Middle Name           Doc 1
                                                     Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                      Case number(if known)

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  4.19                                                                  Last 4 digits of account number
          Fort Lee Federal Credit Union                                                                                                    $ 675.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          3510 A Ave                                                    As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Fort Lee VA             23801                                    Unliquidated
          City         State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.20                                                                  Last 4 digits of account number
          Geico Insurance Company                                                                                                          $ 515.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO BOX 9520                                                   As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Fredericksburg VA               22403                            Unliquidated
          City                 State      ZIP Code                         Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes
  4.21                                                                  Last 4 digits of account number
          Kay Jewelers                                                                                                                    $ 1,781.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          375 Ghent Rd                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Akron      OH        44333                                       Unliquidated
          City       State     ZIP Code                                    Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                     page 9 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name         Middle Name           Doc 1
                                                   Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
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  4.22                                                                Last 4 digits of account number
          Liberty Mutual Insurance                                                                                                       $ 250.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          175 Berkeley Street                                         As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Boston MA              02116                                   Unliquidated
          City       State       ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                              that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes
  4.23                                                                Last 4 digits of account number
          LVNV Funding LLC                                                                                                               $ 801.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          C/O RESURGENT CAPITAL SERVICES                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          PO Box 1269                                                    Unliquidated
                                                                         Disputed
          Greenville SC            29602
          City           State     ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
            Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                              debts
                 At least one of the debtors and another                 Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes
  4.24                                                                Last 4 digits of account number
          LVNV Funding LLC                                                                                                               $ 979.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          C/O RESURGENT CAPITAL SERVICES                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          PO Box 1269                                                    Unliquidated
                                                                         Disputed
          Greenville SC            29602
          City           State     ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
            Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                              debts
                 At least one of the debtors and another                 Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes




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                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name        Middle Name           Doc 1
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  4.25                                                               Last 4 digits of account number
          LVNV Funding LLC                                                                                                              $ 740.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          C/O RESURGENT CAPITAL SERVICES                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          PO Box 1269                                                   Unliquidated
                                                                        Disputed
          Greenville SC           29602
          City           State    ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
            Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
                 Debtor 2 only                                          Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                             debts
                 At least one of the debtors and another                Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes

  4.26                                                               Last 4 digits of account number
          Mariner Finance                                                                                                              $ 4,417.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          8211 Town Center Dr                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Nottingham MD            21236                                Unliquidated
          City            State    ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes

  4.27                                                               Last 4 digits of account number
          Med Inc.                                                                                                                      $ 600.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          9100 Arboretum Pkwy                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Suite 130                                                     Unliquidated
                                                                        Disputed
          Richmond VA             23236
          City           State    ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
            Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
                 Debtor 2 only                                          Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                             debts
                 At least one of the debtors and another                Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes




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                   Jamarr Tobias
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  4.28                                                                  Last 4 digits of account number
          Merrick Bank                                                                                                                    $ 1,806.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 9201                                                   As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Old Bethpage NY               11804                              Unliquidated
          City                 State    ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.29                                                                  Last 4 digits of account number
          Midland Credit Managmeent                                                                                                        $ 450.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 301030                                                 As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Los Angeles CA               90030                               Unliquidated
          City             State       ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Collection Agency
          Is the claim subject to offset?
              No
                 Yes

  4.30                                                                  Last 4 digits of account number
          Navy Federal Credit Union                                                                                                       $ 4,700.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          820 Follin Lane                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Vienna VA             22180                                      Unliquidated
          City       State      ZIP Code                                   Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




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                   Jamarr Tobias
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  4.31                                                               Last 4 digits of account number
          Nordstrom/TD Bank                                                                                                             $ 403.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 6555                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Englewood CO            80155                                 Unliquidated
          City            State   ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                        that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.32                                                               Last 4 digits of account number
          Onemain                                                                                                                      $ 3,413.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 1010                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Evansville IN           47706                                 Unliquidated
          City           State    ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
                 Yes

  4.33                                                               Last 4 digits of account number
          Pentagon Federal Credit Union                                                                                                 $ 491.00
                                                                     When was the debt incurred?
          Nonpriority Creditor's Name
          2930 Eisenhower Avenue                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Alexandria VA           22314                                 Unliquidated
          City           State    ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                       Student loans
                 Debtor 2 only
                                                                        Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




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                   Jamarr Tobias
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  4.34                                                                  Last 4 digits of account number
          Progressive Insurance Company                                                                                                    $ 963.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          6300 Wilson Mills Rd.                                         As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Cleveland OH               44143                                 Unliquidated
          City           State       ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes
  4.35                                                                  Last 4 digits of account number
          Receivables Management Group                                                                                                     $ 157.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                              As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          2901 University Ave. Suite 29                                    Unliquidated
                                                                           Disputed
          Columbus GA                31917
          City           State       ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                   Student loans
            Debtor 1 only                                                  Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 Debtor 2 only                                             Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                debts
                 At least one of the debtors and another                   Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes
  4.36                                                                  Last 4 digits of account number
          R&R Pulmonary Associates                                                                                                           $ 40.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
                                                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          .          .           .                                         Unliquidated
          City       State       ZIP Code                                  Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Medical Services
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                    page 14 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name           Middle Name           Doc 1
                                                     Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                      Case number(if known)

                                                                      Document     Page 35 of 76
  4.37                                                                  Last 4 digits of account number
          Sovereign Pest Control                                                                                                           $ 330.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          5055 Old Ellis Pt, Ste B1                                     As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Roswell GA              30076                                    Unliquidated
          City         State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes
  4.38                                                                  Last 4 digits of account number
          State Farm Insurance Company                                                                                                     $ 376.00
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          One State Farm Plaza                                          As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Bloomington IL               61710                               Unliquidated
          City                 State   ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Balance Owed
          Is the claim subject to offset?
              No
                 Yes
  4.39                                                                  Last 4 digits of account number
          Syncb/At Home Credit Card                                                                                                        $ 512.11
                                                                        When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 965036                                                 As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Orlando FL              32896                                    Unliquidated
          City         State      ZIP Code                                 Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                    page 15 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name         Middle Name           Doc 1
                                                   Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                    Case number(if known)

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  4.40                                                                Last 4 digits of account number
          Syncb/Ebay                                                                                                                       $ 19.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 965036                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896                                  Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                              that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.41                                                                Last 4 digits of account number
          Syncb/EBay                                                                                                                     $ 287.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          P.O. Box 960080                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896                                  Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                              that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.42                                                                Last 4 digits of account number
          Syncb/JCPenney                                                                                                                 $ 644.08
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 965012                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896-5012                             Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                    page 16 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name         Middle Name           Doc 1
                                                   Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                    Case number(if known)

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  4.43                                                                Last 4 digits of account number
          Syncb/Lowes                                                                                                                    $ 453.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 965005                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896                                  Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.44                                                                Last 4 digits of account number
          Syncb/Pay Pal                                                                                                                 $ 2,500.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 965005                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896                                  Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.45                                                                Last 4 digits of account number
          Syncb/PPC                                                                                                                      $ 772.00
                                                                      When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 965005                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896                                  Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                                                                        Student loans
                 Debtor 2 only
                                                                         Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                    page 17 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name            Middle Name           Doc 1
                                                      Last Name        Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                       Case number(if known)

                                                                       Document     Page 38 of 76
  4.46                                                                   Last 4 digits of account number
          TBOM/Milestone                                                                                                                      $ 5.00
                                                                         When was the debt incurred?
          Nonpriority Creditor's Name
          PO Box 9222                                                    As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          Old Bethpage NY                11804                              Unliquidated
          City                 State     ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                                                                           Student loans
                 Debtor 2 only
                                                                            Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                            that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.47                                                                   Last 4 digits of account number
          United Consumers                                                                                                                  $ 164.90
                                                                         When was the debt incurred?
          Nonpriority Creditor's Name
          1111 E. 23rd St                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          Independence MO                64055                              Unliquidated
          City                 State     ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                                                                           Student loans
                 Debtor 2 only
                                                                            Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                 that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.48                                                                   Last 4 digits of account number
          Vantage Debt Consolidation                                                                                                        $ 428.00
                                                                         When was the debt incurred?
          Nonpriority Creditor's Name
          5950 Canoga Avenue                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          Suite 300                                                         Unliquidated
                                                                            Disputed
          Woodland Hills CA               91367
          City                  State     ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
            Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
                 Debtor 2 only                                              Debts to pension or profit-sharing plans, and other similar
                 Debtor 1 and Debtor 2 only                                 debts
                 At least one of the debtors and another                    Other. Specify Promised to help pay creditors
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
                 Yes




Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                    page 18 of 19
                   Jamarr Tobias
 Debtor            Case 20-71890-lrc
                  First Name        Middle Name           Doc 1
                                                  Last Name          Filed 11/19/20 Entered 11/19/20 13:32:19         Desc Main
                                                                                                     Case number(if known)

                                                                     Document     Page 39 of 76
  4.49                                                                 Last 4 digits of account number
          VCU Health                                                                                                                                                            $ 3,718.88
                                                                       When was the debt incurred?
          Nonpriority Creditor's Name
          57 N 11th St                                                 As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          Richmond VA             23298                                    Unliquidated
          City           State    ZIP Code                                 Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                                                                         Student loans
                 Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only                                that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Medical Services
          Is the claim subject to offset?
              No
                 Yes

   Part 3:         List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to
     collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor
     for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill
     out or submit this page.


   Part 4:         Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.



                                                                                                                         Total claim

   Total claims           6a. Domestic support obligations                                                  6a.    $ 0.00
   from Part 1
                          6b. Taxes and certain other debts you owe the government                          6b.    $ 15,113.00

                          6c. Claims for death or personal injury while you were                            6c.    $ 0.00
                              intoxicated
                          6d. Other. Add all other priority unsecured claims. Write that                    6d.    $ 0.00
                              amount here.
                          6e. Total. Add lines 6a through 6d.                                               6e.
                                                                                                                     $ 15,113.00



                                                                                                                         Total claim

   Total claims           6f. Student loans                                                                 6f.    $ 0.00
   from Part 2
                          6g. Obligations arising out of a separation agreement or                          6g.    $ 0.00
                              divorce that you did not report as priority claims
                          6h. Debts to pension or profit-sharing plans, and other similar                   6h.    $ 0.00
                              debts
                          6i. Other. Add all other nonpriority unsecured claims. Write that                 6i.    $ 53,158.60
                              amount here.
                          6j. Total. Add lines 6f through 6i.                                               6j.
                                                                                                                     $ 53,158.60




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 19 of 19
               Case 20-71890-lrc                Doc 1        Filed 11/19/20 Entered 11/19/20 13:32:19                           Desc Main
                                                             Document     Page 40 of 76
  Fill in this information to identify your case:


  Debtor 1
                     Jamarr Tobias
                      First Name       Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name         Middle Name           Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number                                                                                                                        Check if this is an
  (if know)                                                                                                                          amended filing




Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of
any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                     State what the contract or lease is for




Official Form 106G                                       Schedule G: Executory Contracts and Unexpired Leases                                    page 1 of 1
               Case 20-71890-lrc                    Doc 1       Filed 11/19/20 Entered 11/19/20 13:32:19                          Desc Main
                                                                Document     Page 41 of 76
 Fill in this information to identify your case:


 Debtor 1
                 Jamarr Tobias
                     First Name       Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name           Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                               Check if this is an
 (if know)                                                                                                                                 amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
name and case number (if known). Answer every question.


  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.


       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:




Official Form 106H                                                        Schedule H: Your Codebtors                                                page 1 of 1
               Case 20-71890-lrc               Doc 1        Filed 11/19/20 Entered 11/19/20 13:32:19                              Desc Main
                                                            Document     Page 42 of 76
 Fill in this information to identify your case:

                      Jamarr Tobias
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of GeorgiaDistrict
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional          Employment status                Employed                                        Employed
    employers.                                                            
                                                                          ✔ Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name                __________________________________            __________________________________


                                         Employer’s address             _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.            0.00
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.            0.00
                                                                                                  $__________            $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
              Case 20-71890-lrc
               Jamarr Tobias
                                                         Doc 1            Filed 11/19/20 Entered 11/19/20 13:32:19 Desc Main
Debtor 1         _______________________________________________________  Document     Page 43 of Case
                                                                                                   76 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   FERS/OPM Disability Retirement                                  8f.                                      1,678.69
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        1,678.69
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            1,678.69
                                                                                                                         $___________     +       $_____________    =      1,678.69
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              Military Disability Benefits
    Specify: _______________________________________________________________________________                                                                  11. + $_____________
                                                                                                                                                                       4,892.14
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                           6,570.83
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.                 Both Debtor's FERS Disability and VA Disability will be reduced in the coming months.
      
      ✔    Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
                Case 20-71890-lrc               Doc 1         Filed 11/19/20 Entered 11/19/20 13:32:19                                     Desc Main
                                                              Document     Page 44 of 76
  Fill in this information to identify your case:

                     Jamarr Tobias
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Northern District of Georgia
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Daughter                                 17            No
                                                                                           _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                            Mother
                                                                                           _________________________                 70
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            Son
                                                                                           _________________________                 13
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    874.85
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                   150.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                              page 1
                Case 20-71890-lrc                Doc 1           Filed 11/19/20 Entered 11/19/20 13:32:19                     Desc Main
                                                                 Document     Page 45 of 76
                    Jamarr Tobias
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      350.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                       50.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      457.42
        6d.                     ADT Alarm
              Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                       60.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      500.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      150.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      175.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      100.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      400.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                         0.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      640.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  VA State Taxes
        Specify: ________________________________________________________                                        16.
                                                                                                                                      188.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                      648.82
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                      334.00
                              2015 Lexus RC350
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                      771.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                 520.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
                 Money for Son
       Specify:_______________________________________________________                                            19.
                                                                                                                                      175.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                 Case 20-71890-lrc             Doc 1           Filed 11/19/20 Entered 11/19/20 13:32:19                         Desc Main
                                                               Document     Page 46 of 76
                   Jamarr Tobias
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 6,544.09
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 6,544.09
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       6,570.83
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 6,544.09
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     26.74
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                  Case 20-71890-lrc                Doc 1     Filed 11/19/20 Entered 11/19/20 13:32:19                               Desc Main
                                                             Document     Page 47 of 76
Fill in this information to identify your case:

Debtor 1           Jamarr Tobias
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Jamarr Tobias
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              11/19/2020
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
               Case 20-71890-lrc                Doc 1        Filed 11/19/20 Entered 11/19/20 13:32:19                             Desc Main
                                                             Document     Page 48 of 76
 Fill in this information to identify your case:

 Debtor 1          Jamarr Tobias
                   __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern
                                          ______________________
                                                  District of Georgia District of ______________
                                                                               (State)
 Case number         ___________________________________________
  (If known)                                                                                                                               Check if this is an
                                                                                                                                             amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
      ✔ Married

       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     ✔     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                           Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                                 lived there

                                                                                          Same as Debtor 1                                      Same as Debtor 1

                9501 Krause Rd
               __________________________________________         From 08/2013
                                                                       ________             ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       __________
                                                                           08/2019                                                                To      ________
               __________________________________________                                   ___________________________________________

               Chesterfield             VA 23832
               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State ZIP Code


                                                                                          Same as Debtor 1                                      Same as Debtor 1


               __________________________________________         From     ________         ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       ________                                                               To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 1
              Case 20-71890-lrc                      Doc 1          Filed 11/19/20 Entered 11/19/20 13:32:19                                     Desc Main
                                                                    Document     Page 49 of 76
Debtor 1        Jamarr Tobias
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income            Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.        (before deductions and
                                                                                             exclusions)                                           exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips            $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              149,604.00                  bonuses, tips            $________________
            (January 1 to December 31, _________)
                                       2019                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              70,000.00                                            $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income           Gross income from
                                                     Describe below.               each source                         Describe below.             each source
                                                                                   (before deductions and                                          (before deductions and
                                                                                   exclusions)                                                     exclusions)


                                        _________________________
                                        Military Disability and FERS               $________________
                                                                                    65,000.00                 _________________________            $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________            $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________            $_________________


                                         _________________________ $________________                           _________________________           $________________
For last calendar year:
                                         _________________________ $________________                           _________________________           $________________
(January 1 to
             2019                        _________________________ $_________________                          _________________________           $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________           $________________
before that:                             _________________________ $________________                           _________________________           $________________
(January 1 to                            _________________________ $_________________                          _________________________           $_________________
             2018
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
             Case 20-71890-lrc                        Doc 1         Filed 11/19/20 Entered 11/19/20 13:32:19                        Desc Main
                                                                    Document     Page 50 of 76
Debtor 1       Jamarr Tobias
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name             Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of   Total amount paid        Amount you still owe       Was this payment for…
                                                                         payment


                      ____________________________________              _________   $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________              _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________              _________   $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________              _________                                                        Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State         ZIP Code




                      ____________________________________              _________   $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________              _________                                                        Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State         ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
             Case 20-71890-lrc                       Doc 1           Filed 11/19/20 Entered 11/19/20 13:32:19                           Desc Main
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Debtor 1            Jamarr Tobias
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                          Dates of    Total amount      Amount you still   Reason for this payment
                                                                          payment     paid              owe


            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                _________    $____________ $____________
            Insider’s Name

            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                         Dates of      Total amount     Amount you still   Reason for this payment
                                                                         payment       paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________                _________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
              Case 20-71890-lrc                           Doc 1            Filed 11/19/20 Entered 11/19/20 13:32:19                                 Desc Main
                                                                           Document     Page 52 of 76
Debtor 1          Jamarr    Tobias
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     ✔     No
          Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case

    Case title:
                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



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Debtor 1          Jamarr Tobias
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1            Jamarr Tobias
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Brookhuis Law LLC
             Person Who Was Paid

             ___________________________________
             PO Box 17919
             Number       Street                                                                                                         _________           $_____________
                                                                                                                                                               335.00

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             Atlanta             GA      30316
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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Debtor 1           Jamarr Tobias
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            Money Sharp Credit Counseling
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________               10.00
                                                                                                                                                           $_____________
            1916 N Fairfield Ave
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            Suite 200
            ____________________________________

            Chicago             IL      60647
            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           Jamarr Tobias
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1            Jamarr Tobias
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Jamarr Tobias
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     ✔     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


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Debtor 1           Jamarr  Tobias
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Jamarr Tobias
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  11/19/2020                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ✔      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

                  Jamarr Tobias
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                 Check if this is an
 (If known)                                                                                                                                         amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                             12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that    Did you claim the property
                                                                                        secures a debt?                                    as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                             No
          name:           Lakeview Loan Servicing
                                                                                        Retain the property and redeem it.                  Yes
         Description of          3106 Spicy Cedar Ln
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Capital One Auto Finance                                     Surrender the property.                            
                                                                                                                                            ✔ No
         name:
                                                                                        Retain the property and redeem it.                  Yes
         Description of          2013 Cadillac XTS
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s      Capital One Auto Finance                                       Surrender the property.                            
                                                                                                                                            ✔ No
         name:
                                 2009 Lexus ES350                                       Retain the property and redeem it.                  Yes
         Description of
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s        Bridgecrest/Carvana                                          Surrender the property.                            
                                                                                                                                            ✔ No
         name:
                                 2015 Lexus RC350                                       Retain the property and redeem it.                  Yes
         Description of
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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                     Jamarr Tobias
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Jamarr Tobias
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             11/19/2020
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




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 Debtor 1                                                           _                 Case number (if known)
              First Name   Middle Name     Last Name



                                               Continuation Sheet for Official Form 108
1) Creditors who have secured claims

Capital One Auto                  2015 Hyundai                  No exemptions                       reaffirm
Finance                           Veloster

Prestige Financial                2011 Chrysler 200             No exemptions                       reaffirm
Services

Onemain                           2005 Yamaha R-1               No exemptions                       surrender

Massanutten                       Massanutten                   No exemptions                       surrender
Timeshare                         Timeshare




  Official Form 108                           Statem ent of Intention for Individuals Filing Under Chapter 7
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 Fill in this information to identify your case:
                                                                Document     Page 63 of 76
                                                                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         Jamarr   Tobias
                  __________________________________________________________________
                     First Name                Middle Name                  Last Name
                                                                                                          
                                                                                                          ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name                        2. The calculation to determine if a presumption of
                                                                                                                 abuse applies will be made under Chapter 7
                                         Northern District
 United States Bankruptcy Court for the: ____________        ofofGeorgia
                                                       District   _______________
                                                                                                                 Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                              3. The Means Test does not apply now because of
 (If known)
                                                                                                                 qualified military service but it could apply later.


                                                                                                           Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        
        ✔     Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              
              ✔     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                         0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                   0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                 0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   5. Net income from operating a business, profession,
                                                                           Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                   0.00
                                                                              $______    0.00
                                                                                        $______
        Ordinary and necessary operating expenses                            0.00 – $______
                                                                          – $______  0.00
                                                                                                   Copy
        Net monthly income from a business, profession, or farm                0.00
                                                                              $______    0.00
                                                                                        $______ here          0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________

   6. Net income from rental and other real property                       Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                   0.00
                                                                              $______    0.00
                                                                                        $______
        Ordinary and necessary operating expenses                            0.00 – $______
                                                                          – $______  0.00
                                                                                                   Copy
        Net monthly income from rental or other real property                 $______    0.00
                                                                                        $______ here          0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________
  7. Interest, dividends, and royalties                                                                        0.00
                                                                                                              $_________            0.00
                                                                                                                                   $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Debtor 1          Jamarr   Tobias
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................     0.00
                                                                                                        $______________
           For your spouse ..................................................................             0.00
                                                                                                        $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                             0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       FERS/OPM Disability Retirement                                                                                                  1,678.69                     0.00
       ______________________________________                                                                                        $_________                   $___________
       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
                                                                                                                                    0.00
                                                                                                                                 + $_________                      0.00
                                                                                                                                                               + $___________
       Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                   1,678.69             +        0.00              =    1,678.69
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          1,678.69
                                                                                                                                                                                      $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.     20,144.28
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                   GA

       Fill in the number of people in your household.                                                  3

                                                                                                                                                                                        75,460.00
                                                                                                                                                                                      $__________
       Fill in the median family income for your state and size of household. ................................................................................................. 13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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Debtor 1      Jamarr   Tobias
              _______________________________________________________                              Case number (if known)_____________________________________
              First Name      Middle Name         Last Name



   Part 3:      Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Jamarr Tobias
                    __________________________________________________________                   ______________________________________
                    Signature of Debtor 1                                                         Signature of Debtor 2

                        11/19/2020
                   Date _________________                                                         Date _________________
                        MM / DD / YYYY                                                                 MM / DD / YYYY


                    If you checked line 14a, do NOT fill out or file Form 122A–2.
                    If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                   page 3
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Advance Financial                                   Comenity Bank
100 Oceanside Drive                                 PO Box 182789
Nashville, TN 37204                                 Columbus, OH 43218


Allstate Insurance Company                          Conn Credit Corp
PO Box 660598                                       3295 COLLEGE STREET
Dallas, TX 75266                                    Beaumont, TX 77701


American Home Shield                                Credit One Bank
106 Old Mill Rd                                     PO Box 98872
Lagrange, GA 30240                                  Las Vegas, NV 89193


Avant                                               Credit One Bank
222 N LaSalle St                                    PO Box 98873
Suite 1700                                          Las Vegas, NV 89193
Chicago, IL 60601

                                                    Dr. Felton DDS
Bank of America                                     10611 Greenyard Rd.
PO Box 982238                                       Suite A
El Paso, TX 79998                                   Chester, VA 23831


Beacon Management Services                          Felicia Hill-Henry
6285 Barfield Rd                                    1216 Turtle Dove Drive
Suite 150                                           Effingham, SC 29541
Atlanta, GA 30328

                                                    Fingerhut/Webbank
BMG Money Inc                                       6250 Ridgewood Rd.
444 Brickell Ave                                    Saint Cloud, MN 56303
Suite 250
Miami, FL 33131
                                                    First Premier Bank
                                                    3820 N Louise Ave
Bridgecrest/Carvana                                 Sioux Falls, SD 57107
PO BOX 842695
Los Angeles, CA 90084
                                                    Fort Lee Federal Credit Union
                                                    3510 A Ave
Capital One Auto Finance                            Fort Lee, VA 23801
PO Box 259407
Plano, TX 75025
                                                    Geico Insurance Company
                                                    PO BOX 9520
Capital One Bank USA NA                             Fredericksburg, VA 22403
PO Box 30281
Salt Lake City, UT 84130
                                                    Georgia Department of Revenue
                                                    Compliance Division, ARCS Bankruptcy
Capital One/Walmart                                 1800 Century Blvd NE, Suite 9100
PO Box 30281                                        Atlanta, GA 30345
Salt Lake City, UT 84130

                                                    Internal Revenue Service
CB Indigo                                           PO Box 7346
PO Box 4499                                         Philadelphia, PA 19101
Beaverton, OR 97076
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Kay Jewelers                                       Onemain
375 Ghent Rd                                       PO Box 1010
Akron, OH 44333                                    Evansville, IN 47706


Lakeview Loan Servicing                            Pentagon Federal Credit Union
4425 Ponce de Leon Blvd                            2930 Eisenhower Avenue
MS 5-251                                           Alexandria, VA 22314
Miami, FL 33146

                                                   Prestige Financial Services
Liberty Mutual Insurance                           1420 South 500 West
175 Berkeley Street                                Salt Lake City, UT 84115
Boston, MA 02116

                                                   Progressive Insurance Company
LVNV Funding LLC                                   6300 Wilson Mills Rd.
C/O RESURGENT CAPITAL SERVICES                     Cleveland, OH 44143
PO Box 1269
Greenville, SC 29602
                                                   R&R Pulmonary Associates

Mariner Finance
8211 Town Center Dr                                Receivables Management Group
Nottingham, MD 21236                               Attn: Bankruptcy
                                                   2901 University Ave. Suite 29
                                                   Columbus, GA 31917
Massanutten Timeshare
8545 Commodity Circle
Orlando, FL 32819                                  Sovereign Pest Control
                                                   5055 Old Ellis Pt, Ste B1
                                                   Roswell, GA 30076
Med Inc.
9100 Arboretum Pkwy
Suite 130                                          State Farm Insurance Company
Richmond, VA 23236                                 One State Farm Plaza
                                                   Bloomington, IL 61710

Merrick Bank
PO Box 9201                                        Syncb/At Home Credit Card
Old Bethpage, NY 11804                             PO Box 965036
                                                   Orlando, FL 32896

Midland Credit Managmeent
PO Box 301030                                      Syncb/EBay
Los Angeles, CA 90030                              P.O. Box 960080
                                                   Orlando, FL 32896

Navy Federal Credit Union
820 Follin Lane                                    Syncb/Ebay
Vienna, VA 22180                                   PO Box 965036
                                                   Orlando, FL 32896

NC Child Support Services
PO Box 20800                                       Syncb/JCPenney
Raleigh, NC 27619                                  PO Box 965012
                                                   Orlando, FL 32896-5012

Nordstrom/TD Bank
PO Box 6555                                        Syncb/Lowes
Englewood, CO 80155                                PO Box 965005
                                                   Orlando, FL 32896
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Syncb/Pay Pal
PO Box 965005
Orlando, FL 32896


Syncb/PPC
PO Box 965005
Orlando, FL 32896


TBOM/Milestone
PO Box 9222
Old Bethpage, NY 11804


United Consumers
1111 E. 23rd St
Independence, MO 64055


Vantage Debt Consolidation
5950 Canoga Avenue
Suite 300
Woodland Hills, CA 91367


VCU Health
57 N 11th St
Richmond, VA 23298


Virginia Tax
Office of Customer Services
PO Box 1115
Richmond, VA 23218
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                                 United States Bankruptcy Court
                                 Northern District of Georgia




         Jamarr Tobias
In re:                                                             Case No.

                                                                   Chapter    7
                     Debtor(s)




                                 Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              11/19/2020                            /s/ Jamarr Tobias
Date:
                                                   Signature of Debtor



                                                   Signature of Joint Debtor
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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
        Case
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                                      United States Bankruptcy Court
                                                              Northern District of Georgia
                                               __________________________________
     In re   Jamarr Tobias

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,750.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 0.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   1,750.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
Exhibit "A" - Base Fee Services
Helping client obtain pre-filing credit briefing
Helping client obtain pay advices
Helping client obtain tax transcripts/returns
Initial Intake
Changes of address
Pre-confirmation turn-over proceedings
Stop creditor actions against client
Motion to Extend Stay or to Impose Stay
Motion for finding of Exigent Circumstances
Obtaining Employment Deduction Order and serving on employer Order to Vacate Employer Deduction Order
341 Hearing and Reset Hearing
Confirmation Hearing and Reset Confirmation Hearing
Modifications necessary to confirm plan
Lien avoidances necessary to confirm plan
Objections to claim necessary to confirm plan
Letter requesting suspension of plan payments
Bar date review (and all resulting/related pleadings)
Provide information in obtaining pre-discharge financial counseling certificate Post-Confirmation amendment to add creditors
Trustee or creditor motions to modify plan
Objections to Late-Filed Claims




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Exhibit "B" - Non-Base Fees Services/ A La Carte Items
Service Fee
Post-confirmation modification of plan payments $300.00
Post-confirmation MFRS for non-payment or no insurance $300.00
Post-confirmation MFRS re: payment disputes $500.00
Motion to sell property of the estate $500.00
Application to employ professional $300.00
Motion for Approval of Compromise and/or Settlement Proceeds $300.00
Application for outside loan/Motion to refinance, modify loan, or incur debt Post-bar date review Trustee $300
Motion to Dismiss $300.00
Post-confirmation stay violations $300.00
Motion to sever/dismiss as to one joint debtor $300.00
Motion to reopen or vacate dismissal or reconsider dismissal $500.00
Motion to re-impose stay $500.00
Motion to retain tax refund $300.00
Trip to courthouse to obtain a copy of a judgment $300.00
Motion to Determine Claim Status and Release Lien $1,500.00
Adversary Proceedings $300/hr
Appellate Practice $350/hr
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       11/19/2020                       /s/ John Brookhuis, 940484
     _____________________             _________________________________________
     Date                                     Signature of Attorney
                                        Brookhuis Law LLC
                                       _________________________________________
                                            ​Name of law firm
                                        PO Box 17919
                                        Atlanta, GA 30316
                                        6783908070
                                        john@brookhuislaw.com
